Case 1:19-cr-00116-KMW Document 284 Filed 01/11/21 Page 1 of1 about:blank

 

 

 

 

 

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SOUTHERN DISTRICT OF NEW YORK | pOea
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UNITED STATES OF AMERICA . |
: ORDER
-v.- 19 Cr. 116 (KMW)
RAYMOND RESTO,
Defendant.
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WHEREAS, defendant Raymond Resto requests to schedule a guilty plea before the duty
Magistrate Judge;

WHEREAS, the ongoing COVID-19 pandemic necessitates that the proceedings take place
remotely;

WHEREAS, the Court understands that the Magistrate Judge on duty shall hear the
defendant’s plea by telephone because videoconferencing is not reasonably available;

WHEREAS, the CARES Act and finding made by the Judicial Conference of the United
States and Chief Judge Colleen McMahon of the Southern District of New York allow for guilty
pleas to be taken by telephone or video, subject to certain findings made by the District Judge;

THE COURT HEREBY FINDS that, because the defendant has consented to proceed
remotely, and because the plea cannot be further delayed without serious harm to the interests of

justice, it is

 

SO ORDERED.
Dated: New York, New York Mtwkn Yu, orrvth
January / |, 2021 . THE HONORABLE KIMBA W. WOOD

UNITED STATES DISTRICT JUDGE
SOUTHERN DISTRICT OF NEW YORE

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